UNITED STATES OF AMERICA

CARLOS RICHARD MARTINEZ,

Defendant.
kK ke ke Ke Ke KeOOKeOOKOKOKOKOKOOKOOK hh

APPEARANCES:

For the Government:

BY:

For the Defendant:

Transcription Services:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Docket No.
17-CR-281 (ERK)

U.S. Courthouse
Brooklyn, NY

February 10, 2020
3:44 PM

+ + + FF FF F HF F

TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
BEFORE THE HONORABLE EDWARD R. KORMAN
UNITED STATES DISTRICT JUDGE

RICHARD P. DONOGHUE, ESQ.
UNITED STATES ATTORNEY

ELIZABETH A. GEDDES, ESQ.

NADIA I. SHIHATA, Esq.

Asst. United States Attorney
United States Attorney's Office
271 Cadman Plaza East

Brooklyn, NY 11201

ANTHONY L. RICCO, ESQ.
20 Vesey Street, Suite 400
New York, NY 10007

CARLOS M. SANTIAGO, ESQ.
The Law Office of
Carlos M. Santiago

11 Broadway, Suite 615
New York, NY 10004

Transcriptions Plus II, Inc.
61 Beatrice Avenue

West Islip, NY 11795
laferrara44@gmail.com

Proceedings recorded by electronic sound recording,
transcript produced by transcription service.

24

25

Proceedings

THE CLERK: United States v. Carlos Martinez.

Your appearances, counsel.

MS. GEDDES: Elizabeth Geddes and Nadia Shihata for
the government. Also seated at counsel table is Special Agent
Elliot McGinnis, and Teri Carby, a paralegal in our office.

Good afternoon, Your Honor.

THE COURT: Good afternoon.

MR. RICCO: Good afternoon, Judge Korman, Anthony
Ricco for Carlos Martinez.

And Your Honor, I'm joined by Carlos Santiago,
counsel, and Your Honor may recall he is a participant in the
Mentoring Program.

THE COURT: Right.

MR. RICCO: And also I'm joined by paralegal Minit
Rallah (ph.) and, of course, Carlos Martinez.

THE COURT: Okay.

MR. SANTIAGO: Afternoon.

MR. MARTINEZ: Good afternoon.

THE COURT: Do I need to deal with the so-called in
limine motions before, before we start? Before opening, even
before opening statements? I don't think so.

MS. GEDDES: I don't believe so.

MR. RICCO: No, Judge.

THE COURT: Good. We'll deal with them later then.

IT don't like to keep the jury waiting.

Transcriptions Plus Il, Inc.

24

25

Proceedings 3

All right, bring in the jury.

(Pause)

THE CLERK: All rise.
(Jury In)

THE CLERK: Please be seated.

THE COURT: Is there any reason why the jury should
mot be sworn?

MS. GEDDES: No, Judge.

MR. RICCO: No, Your Honor.

THE COURT: All right. Swear the jury.

(Jury sworn)

THE CLERK: Please be seated.

THE COURT: All right. Ladies and gentlemen of the
jury we're about to begin this trial about which you have heard
something during the process of jury selection. Before the
trial begins, however, there are certain things I wish to tell
you which will help you understand what will be presented
before you, and how you should conduct yourselves during the
trial.

To begin with you are here to administer justice in
this case according to the law and the evidence with complete
fairness and impartiality and without bias, prejudice or
sympathy for or against the government or the defendant.

This is important to the defendant who is charged

with a crime and has the constitutional right to receive a fair

Transcriptions Plus Il, Inc.

24

25

Proceedings 4

trial. The case is also important to the government since the
enforcement of the criminal laws is important.

The case is based on an indictment which has been
read to you, quite recently, by the Magistrate Judge and to
Which the parties will refer in their opening statements, and
Which I will read to you again when I give you my instructions
on the law. The indictment is simply the document by which a
criminal action is commenced, it is merely an accusation of a
charge. It is not evidence of the defendant's guilt.

Since the defendant has pleaded not guilty, the
government has the burden of proving each of the essential
elements of the crime charged in the indictment beyond a
reasonable doubt. The purpose of the trial is to determine
whether the government meets this burden.

The defendant does not have to prove his innocense.
On the contrary, the defendant is presumed to be innocent of
the accusations contained in the indictment.

The trial will proceed in the following order:
First. the parties have the opportunity to make opening
statements. The government will make such a statement, then
the defendant, although he is not obliged to do so, may through
his attorney make an opening statement or defer until the end
of the government's case. What is said in these statements is
mot evidence, it is simply an introduction to the evidence

which the parties intend to produce.

Transcriptions Plus Il, Inc.

24

25

Proceedings 5

Second, the government will introduce evidence in
support of the charges. Then the defendant may present
evidence, but is not required to do so. The burden is always
on the government to prove every element of the offense charged
beyond a reasonable doubt. The law never imposes on a
defendant in a criminal case the burden of calling any
witnesses or introducing any evidence.

Fourth, after all the evidence has been presented
each party has the opportunity to present argument in support
of his case. What is said in these arguments is not evidence,
they simply present to you the contentions of the parties as to
what the evidence has shown, and what inferences may be drawn
from the evidence. The government will have the right to open
and close the argument which we refer to as summations.

After the summations, I will instruct you on the
applicable law and then you will retire to consider your
verdict. Your verdict must be unanimous as to every party and
on every count. You have a tremendously important task as
jurors, it is to determine the facts. Our constitution gives
the defendant the right to have you, who are members of the
community, find those facts. You, and not I, are the sole
judge of the facts.

I shall try to preside impartially and not to express
any opinion concerning the facts; however, if at any time I

should make any comment with respect to the facts, you should

Transcriptions Plus Il, Inc.

24

25

Proceedings 6

disregard it.

It is your judgment as to the facts, not mine, which
controls. As the sole judge of the facts you must determine
which of the witnesses you believe and what portion of their
testimony you accept and what weight you attach to it.

When an objection to a question is sustained, you
should disregard the question and draw no inferences from its
wording about the answer that might have been given. Where an
objection is overruled, evidence then received has no special
weight just because it was unsuccessfully objected to.

You must not consider anything you may have read or
neard about the case outside the courtroom whether before or
during trial.

Now I know that many of you use cell phones and
Blackberries, the internet, and other tools of technology. You
must not talk to anyone at any time about this case or use
those tools to communicate electronically with anyone about
this case. This includes your family and friends. You may not
communicate with anyone about this case on your cell phone,
through e-mail, Blackberry, iPhone, text messaging or on
Twitter. Through any website, blog, including Facebook,
Google, MySpace, LinkedIn or YouTube. You may not use any
Similar technology of social media, even if I have not
specifically mentioned it. I expect you to inform me as soon

as you become aware of another juror's violation of these

Transcriptions Plus Il, Inc.

24

25

Proceedings 7

instructions.

And I would add to that you should not use any of
these to do research about the case or research about any
issue. Your verdict in this case is going to ultimately have
to be based on what you hear in this courtroom.

Now no statement, remark or comment which I may make
during the course of the trial is intended to indicate any
opinion as to how you should decide the case or influence you
in any way in your determination of the facts. At times I may
ask questions of witnesses, if so it's for the purpose of
bringing out matters which I feel should be brought out and not
in any way indicating an opinion about the facts or to indicate
the weight that you should give to the testimony of the
witness.

Now there are several rules which should govern your
conduct during any recesses. You will not be required to
remain together while the Court is in recess, but you are
required to follow these instructions about recesses.

First, do not discuss the case among yourselves or
with anyone else. You should keep an open mind reaching your
conclusion only during your final deliberations, after all the
evidence is in, you've heard the attorneys’ summations, and my
instructions on the law, and then, only and after exchange of
views with other members of the jury.

Now the instruction I've just given you is

Transcriptions Plus Il, Inc.

24

25

Proceedings 8

counterintuitive. Serving on a jury is an interesting and
unique experience for many of you, not all, and it is something
that you would naturally want to discuss with family or friends
when you see them when you get at home. And we ask you not to
do that because we want you to decide the case on what you hear
here in Court, and when you start conversing with someone about
the case, before you know it they're giving you their opinion
when they haven't heard any of what went on in this courtroom.
So in order to guard against that we ask you not to discuss
the case with anyone else.

And the instruction that you not discuss the case
among yourselves is also counterintuitive because at the moment
the case is all you have in common and it's quite natural that
you would want to talk about it, and we ask you not to do it
because when you start talking about the case prematurely
before you've heard all the evidence and the attorneys'
arguments and my instructions on the law, you might jump to
conclusions which may not be warranted or be premature. So
that's why we ask you not to discuss the case among yourselves,
and by that I mean as a commonsense rule don't discuss whether
you believe or disbelieve a particular witness or you believe
or don't believe that the defendant is guilty or not guilty
until you've heard all the evidence, the attorneys' arguments
and my instructions on the law.

You should also not permit any other person to

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 9
discuss the case in your presence and if anyone does so that
you tell them not to, report that fact to me. You should not,
hnhowever, discuss with your fellow jurors either that fact or
any fact that you feel necessary to bring to my attention.

Finally, though it is a normal human reaction to talk
with people with whom one is thrown into contact. Please do
mot do so whether in the courtroom, in the hallways, in the
elevator outSide or anywhere else with any of the parties or
their attorneys, or any witnesses. By this I mean, not only do
mot talk about the case, but do not talk at all even to pass
the time of day.

Now those of you who have been selected as alternate
jurors should listen just as carefully and as conscientiously
as the other jurors. You may very well be called upon prior to
the conclusion of the case to take the place of one of the
jurors and then you will have to render a verdict so please pay
strict attention at all times.

All right. Who is going to give the opening
statement?

MS. SHIHATA: I will.

GOVERNMENT'S OPENING STATEMENT:

MS. SHIHATA: This case is about power and abuse.
That man, the defendant, Carlos Martinez abused his position
and power as a law enforcement officer, a lieutenant, with the

Federal Bureau of Prisons, by repeatedly raping a female inmate

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 10

entrusted in his care and custody.

Good afternoon, ladies and gentlemen, my name is

Nadia Shihata and I'm an Assistant United States Attorney.
Here with me this afternoon is Assistant United States Attorney
Elizabeth Geddes, along with Elliot McGinnis, Special Agent
with the Federal Bureau of Investigation, and Teri Carby, a
paralegal in our office. Together we represent the United
States, and we will present the evidence against the defendant.

On a Sunday in December of 2015, a woman, an inmate,
got summoned by the defendant to clean the lieutenants' office
on the second floor of the Metropolitan Detention Center here
in Brooklyn, known as the “MDC.“

During this trial you'll learn her real name, but
we'll refer to her by a pseudonym “Maria“ to protect her
privacy. Maria was in her late 20s, didn't speak much English,
and her family was far away in the Dominican Republic. She
hadn't had a single visitor at the MDC. She was isolated.
Vulnerable. Facing immigration custody and possible
deportation after serving her sentence.

By December 2015 Maria had worked as a cleaner at the
MDC for over six months. But had more recently started
cleaning for the defendant. At first the defendant was nice to
her. He would ask Maria how her week went as she went about
ner cleaning. He began calling her by her first name and

sharing personal information about himself.

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 11

And then the defendant, a boss at the prison, took
things a step further making inappropriate sexual comments to
Maria, asking her if she masturbated. Suggesting that she
should finger him and touch herself. But even with the
defendant's comments in the back of her mind Maria never
expected what happened next.

On that Sunday in December her life changed forever.
An officer took Maria from her unit, the second floor, to
clean, leaving her alone with the defendant in the lieutenants'
office. Once there Maria prepared to clean like always. While
the defendant sat at his desk in the office she crouched down
to gather and prepare some cleaning liquids that were stored in
an area behind that same desk. Maria had her back towards the
defendant.

The defendant then turned his chair towards her, when
Maria looked his way she saw the defendant's erect penis
exposed through the zipper of his pants. The defendant then
grabbed Maria's head and forced his penis into her mouth. She
struggled to push herself away but wasn't able to. She felt
like she was being choked. The defendant then lifted Maria up
and pushed her face forward onto the desk. He pulled her pants
and underwear down then penetrated Maria's vagina with his
penis from behind.

Maria was crying. He kept going. When he finally

finished, the defendant cleaned himself off and told Maria she

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 12

was bleeding. The defendant ejaculated inside of Maria that
day. So on top of everything else she had just been through,
she was terrified she'd get pregnant. She begged the defendant
to get her the morning after pill, an emergency contraceptive
that prevents women from getting pregnant when taken shortly
after unprotected sex. But the defendant told her to calm
down, not to worry, she wouldn't get pregnant because he had an
operation, a vasectomy which meant he couldn't impregnate her.
Maria wasn't convinced and she was desperate for that pill,
pleading with the defendant to bring it to her even after he
told her she didn't need it.

Eventually to calm Maria down, the defendant relented
and told her he would try to bring the pill to her later that
might when he was back on shift around midnight. The officer
took Maria back to her unit, but before she left the defendant
made sure to let Maria know there would be consequences if she
told anyone what happened. She would end up with more jail
time if anyone found out and she would be sent to the SHU,
special housing, solitary confinement. In the place where
inmates were routinely disciplined on the word of an officer.

That's what the defendant, the lieutenant with the
power and authority to discipline inmates like Maria, that's
What he told her. And not just that Sunday. See the defendant
didn't just rape and sexually abuse Maria that one time, in the

weeks that followed he did it again, and again, and again.

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 13

Over and over and over. In the same location, under the same
guise of calling Maria down to clean.

During this trial, you'll learn that at the times the
defendant chose to rape Maria the lieutenants' office and
surrounding areas were basically empty. And you'll also learn
that there were no cameras inside the lieutenants" office.
Something the defendant, the supervisor in the prison, knew.
But there were cameras in other parts of the prison. And
you'll learn that the defendant had access to those cameras
from the computer on the desk in the lieutenants' office so he
could see and know if anyone was coming while he sexually
assaulted Maria. It was his foolproof system. A system that
also let Maria know that the defendant could watch her even
when she wasn't with him.

For his conduct the defendant is charged in a 15-
count indictment with crimes related to certain specific
incidences of his sexual abuse of Maria. Those crimes fall
into three categories. First, depriving Maria of her civil
rights, specifically her right as a prisoner to be free from
cruel and unusual punishment in the form of the defendant's
aggravated sexual abuse. Second, the crime of aggravated
sexual abuse for using force to cause Maria to engage in
various sexual acts with him. And third, the crime of sexual
abuse using threats and fear to cause Maria to engage in those

acts.

Transcriptions Plus Il, Inc.

24

25

Opening - Shihata 14

So how will we prove that the defendant committed
those crimes? First, we'll hear from Maria, the survivor,
nerself. She'll take that witness stand and tell you what the
defendant did to her. She'll come into this courtroom and
relive the worst period of her life there. Telling you in
explicit detail how the defendant used force, threats, fear and
his position of power as a lieutenant to sexually abuse her
repeatedly.

She'll tell you about the humiliation and shame she
felt afterwards. The fear she endured and the steps she took
to try to make it stop. Including the call she made asking a
friend to look the defendant up on Facebook. Hoping the
defendant would monitor the call, get worried his name was
mentioned and finally stop the abuse.

And the defendant did find out about that call and
did stop raping Maria for a period of time. But then he raped
her again, one last time on April 2016, before she was
transferred into Immigration custody.

You'll also hear from other women who were housed at
MDC. Women who saw Maria after she returned to her unit that
Sunday in December, after the first time the defendant raped
ner. They'll describe how she looked and acted for hours
afterwards and how she confided to them some of what happened
at that time. How she was bleeding, crying, scared, and not

her normal self the rest of that day and the days following.

Transcriptions Plus Il, Inc.

24

25

Opening - Ricco 15

You'll see medical records showing the defendant had
a vasectomy, just like he told Maria. And you'll hear from a
doctor, an expert, who will explain to you what that means.
You'll hear from MDC officers and other witnesses who will
corroborate, will back up, aspects of Maria's testimony. And
you will see prison records, phone records and Facebook records
that do the same.

And finally, ladies and gentlemen, you'll see and
near testimony about bank records and records from Rite-Aid
Pharmacy proving that on that Sunday, December of 2015, after
the first rape when Maria begged him for that morning after
pill, just a few hours later the defendant used a debit card to
buy that pill. At a Rite-Aid not far from his house. He even
used his Rite-Aid rewards card to get a $5 discount on it.

That's just a brief summary of some of the evidence
you'll see and hear during this trial. At the end of this
case, after you've seen and heard all the evidence, we'll have
a chance to speak with you again and at that time we'll ask you
to find the defendant guilty on all counts.

Thank you.

THE COURT: Mr. Ricco.

MR. RICCO: Thank you, Judge.

DEFENSE'S OPENING STATEMENT:
MR. RICCO: What are my concerns? My concerns is

after hearing such a detailed, gripping, emotionally moving

Transcriptions Plus Il, Inc.

24

25

Opening - Ricco 16
story, how do you look people in the face and ask them to
believe you? How do you ask people to believe in the
presumption of innocence? How do you ask people to give, you
heard Lieutenant Martinez a trial?

There are some charges that just from the nature of
the charges themselves make your job excruciatingly difficult.
I'm concerned about that. It's important to me that throughout
these proceedings that as the lawyer, myself and Carlos
Santiago, who is sitting over my shoulder, that we are able to
maintain your respect, and your honor, and commitment to the
principles that we've talked about in jury selection.

We live in very difficult times where we hear these
type of allegations, and we hear $2 dollar lawyers making
statements about it, and sometimes people are infuriated by
them. So what I'm saying to you all is I hope and pray that we
haven't lost you on the opening statements because Judge Korman
told you that opening statements are not evidence, just a
theory of the case and if we lost you on the theory, and as the
witnesses take the stand, you're listening for the theory as
opposed to the defense.

Now I can tell how some of you are looking, and it
doesn't feel good. We have a system that is very difficult for
us, for all us to participate in because oftentimes the charges
themselves set off in us an emotional reaction that makes it

difficult for us to listen. The most important thing is not to

Transcriptions Plus Il, Inc.

24

25

Opening - Ricco 17
get before you and tell you an equally compelling story to sort
of capture your heart about what you're going to hear.

I could do that. It could be done. This is not
about storytelling. This is about proving the case. And so
you have to reserve your judgment about it, as hard as it is.
The failure to do so means that our system doesn't work. And
the responsibility for this is with you. So, I'm not going to
preview the facts to you. I could.

IT could tell you all those details you heard is all
about a $20 million lawsuit. I could tell you other facts, but
then that would be unfair because the person who is the accuser
should get their day in court. I'll promise you this, I
promise you that the questions I will ask, will be the kinds of
questions that you would want to ask in the search for the
truth about what happened.

You're going to hear from many witnesses. You're
going to hear from witnesses who do not "corroborate" what Ms.
Shihata just said. You're going to hear from staff people who
do not corroborate what Ms. Shihata just said. Your read of
those Facebook posts and those Facebook texts may not
corroborate what Ms. Shihata said. And the purchase of the
pill may not corroborate the story of that the purchase of the
pill is connected to.

And so what I'm going to ask you do is to think, it's

a hard thing to do, because we live in a society where people

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 18

look at people and we look over there and they look at his face
and they -- if they can. Some people can't look at him. And
they look over there and say he looks guilty to me, and then
everything that we hear is based upon our perception that he
looks guilty. So I'm going to ask you not to do that, if you
can. And that you withhold your judgment way down the line
until Judge Korman instructs you on the law, until you go into
the jury room, and you start deliberating about the testimony
that you've heard. And then to piece it together, step-by-
step, piece-by-piece.

And that's really all I have to say at this point.

No long drawn out circumstance, just a request that each of you
live up to the duty that you swore that you would live up to.
And some, you know, we talked to some of the jurors on the side
and if you can't, then tell the judge and let the alternates
come in. Don't stay here if your mind is already made up
because you would be engaged in something worse than the story
you just heard.

So as we sit here right now, the person that is hard
for us to look at, hey, listen under the law he's presumed to
be innocent. And he's entitled to that presumption just as
much as either one of us would be, or any of our loved ones
would be. And he carries that every day. And I'm going to ask
that when you come in here every day on your way to the

courthouse that you recommit yourself to the presumption of

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 19 of 60 PagelD #: 2745

24

25

"Maria" - Direct - Shihata 19

innocence and that you try hard to do it, pray on it, get it
done. If you can come in here everyday carrying that
responsibility, at the end of the day you're verdict will be
mot only justified but honored by everybody.

So that's all I have to say at this point. I'm going
to be asking questions and I'm going to ask you to please try
to listen to the questions and answers and follow us through
this trial. Okay? All right? All right.

Judge Korman, thank you.

THE COURT: Thank you.

All right. Call your first witness.

MS. SHIHATA: The government calls Maria.
(INTERPRETERS SWORN)

THE CLERK: Please state your name for the record.

THE INTERPRETER: Elizabeth Caruso.

THE INTERPRETER: Vivian Goa.

THE COURT: Would you raise your right hand?
"MARI A",

having been first duly sworn, was examined and testified
as follows:

THE COURT: Please be seated.

MS. SHIHATA: May I inquire, your Honor?

THE COURT: Yes.

DIRECT EXAMINATION

BY MS. SHIHATA:

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 20 of 60 PagelD #: 2746

24

25

"Maria" - Direct - Shihata 20

Q Good afternoon.

MS. SHIHATA: I'm showing the witness only what's
been marked for identification as Government Exhibit 2.

THE CLERK: ELMO or laptop?

MS. SHIHATA: ELMO, please.

THE COURT: Ladies and gentlemen, I just want to say
that in Mr. Ricco's opening he referred to texts and Facebook.
What he's referring to is evidence that's going to be admitted
nere. You should not go looking, again, for anything on the
internet.

MS. SHIHATA: I'm showing the witness only what's
been marked for identification as Government Exhibit 2.

OQ Do you recognize this photograph?
A Yes.

OQ Who is this a photograph of?

A Me.

MS. SHIHATA: I move to admit Government Exhibit 2.

MR. RICCO: Without objection, your Honor.

THE COURT: It's admitted.

(Government's Exhibit 2 received into evidence.)

MS. SHIHATA: May I publish it to the jury, please?

THE COURT: Yes.

MS. SHIHATA: May I approach, your Honor?

THE COURT: Yes. You don't ever have to ask me. You

can always do it.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document111 Filed 02/21/20 Page 21 of 60 PagelD #: 2747

24

25

"Maria" - Direct - Shihata 21

THE CLERK: But you do need to remember to speak only
in front of the microphones.
Q I'm showing you what's been marked for identification as
Government Exhibit 2-A. Is this the same photograph I just
showed you in Government Exhibit 2 with your true name written
underneath?
A Yes.

MS. SHIHATA: I move to admit Government Exhibit 2-A.

MR. RICCO: Without objection, your Honor.

THE COURT: It's admitted.
(Government's Exhibit 2-A received into evidence.)

MS. SHIHATA: And I would ask to publish it to the

jury.
THE COURT: Doesn't it go up on the screen? I don't
like --
MS. SHIHATA: It has her true name, your Honor.
OQ Now, for the purposes of your testimony here today, we are
going to refer to you as "Maria." Okay?
A Okay.
O How old are you?
A Thirty-three.
OQ Where were you born?
A In the Dominican Republic.
OQ How far did you go in school?
A Two years of college.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document111 Filed 02/21/20 Page 22 of 60 PagelD #: 2748

24

25

ee 1

Q

A

Q

i

me 10

"Maria" - Direct - Shihata 22

In what country?
In the Dominican Republic.

At some point in your life, did you spend time in a

federal prison?

Yes.

What prison or prisons?

At the MCC Manhattan and MDC Brooklyn.

And does "MCC" stand for Metropolitan Correctional Center?
Yes.

And you testified that's in Manhattan?

Yes.

And you mentioned "MDC." Does that stand for Metropolitan

Detention Center?

Yes.
And where is that located?
In Brooklyn.

Did something happen to you while you were housed at the

Yes.

What happened?
T was raped.
By who?
Martinez.

MS. SHIHATA: I'm showing the witness only what's

been marked for identification as Government Exhibit 1.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 23 of 60 PagelD #: 2749

24

25

i

ea 10

Q

A

Q

FP tO PF O FP O Pp

ee 1

"Maria" - Direct - Shihata 23

Do you recognize this -- the person in this photo?

Yes.

Who is this a photo of?

Martinez. Lieutenant Martinez.

Is that the Martinez you just referred to?

Yes.
MS. SHIHATA: I move to admit Government Exhibit 1.
MR. RICCO: It's without objection.

THE COURT: It's admitted.

(Government's Exhibit 1 received into evidence.)

MS. SHIHATA: If we could publish it, please, on the

screens.

Now you said -- you testified you went to college in the

Dominican Republic, correct?

Yes.

What did you study there?

Civil engineering.

And when did you move to the United States?

In 2008, April of 2008.

And how old -- around how old were you at that time?
Twenty-one, twenty-two.

What area did you move to?

Queens.

Why did you come to the United States?

My boyfriend.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 24 of 60 PagelD #: 2750

24

25

"Maria" - Direct - Shihata
OQ Did you come to the United States legally?
A Yes.
QO And after you got to the U.S., did you marry your
boyfriend?
A Yes.
OQ Did you become a legal, permanent resident of the United
States?
A Yes.
OQ After coming to the United States, did you work?
A Yes.

OQ What types of jobs?

A Housekeeping at the Sheraton, Hilton, Western Union, a
supermarket.

OQ And before going to prison, did you also continue your
education in the United States?

A Yes.

OQ What did you study?

A I was studying English to then go on to nursing.

OQ And did you actually go on to the nursing part?

A No.

OQ Do you have any children?

A No.

OQ Sometime after you moved to New York, were you contacted

by a man you knew from the Dominican Republic?

A Yes.

Transcriptions Plus Il, Inc.

24

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 25 of 60 PagelD #: 2751

24

25

FP TO Pp

10

A

Q

A

Q

A

Q
A

Pe 10 me 10

ew

Q

A

"Maria" - Direct - Shihata 25

What if anything did he ask you to do?

To go pick up drugs.

From where?

Manhattan. Vermilyea.

Did you ultimately end up picking up drugs for this man at
point?

Yes.

Approximately how many times?

Five. Three. I don't remember. I don't remember exactly

how many.

Fair to say multiple times?

Yes.

Why did you do that?

Because he told me I had to pay some money.
How much --

And -- and I didn't have any money to pay him with.
How much money did he say you had to pay him?
A little over 300.

Three hundred what?

Thousand dollars.

Why did he say you owed him $300,000?

Because the first time he asked me to go and pick up

drugs, I didn't go, and the drugs got lost.

And what did you understand that to mean?

IT don't know who picked up those drugs, but he said he

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 26 of 60 PagelD #: 2752

24

25

wasn'

"Maria" - Direct - Shihata 26

t going to be the only one paying for the drugs. I had to

pay him for them.

Q

A

this

Were you scared of this man?

Yes.

Are you still scared of him today?

Yes.

What job did you have at the time when you were told you
$300,000?

Housekeeping.

Could you afford to pay $300,000?

No.

What if anything did the man say about how you could pay
debt?

So you go and pick up drugs, just do that continuously.

And every time I did that, he would take $2,000 off.

Q

FP tO Pp

10

$2,000 off the debt?

Yes.

T want to direct your attention to September 18th, 2013.
you arrested that day?

Yes.

On what type of charge?

Conspiracy and possession of drugs.

And were you planning to pick up drugs that day?

Yes. Iwas -- I went out to pick it up.

And what if any arrangement had you made with respect to

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 27 of 60 PagelD #: 2753

24

25

"Maria" - Direct - Shihata 27
payment for picking up drugs that day?
A That he give the money to my brother, not to give me the
money, because -- not to take it off, because my dad was sick
and I wanted to put Dad in a clinic.
Q Okay. So in this -- on this occasion, did you ask to

actually be paid $2,000 rather than having it taken off the

debt?

A Yes.

QO Had you ever been arrested before that day?

A No.

QO Were you questioned by the agents who arrested you the

same day you were arrested?

A Yes.

OQ Were you truthful with those agents?

A No.

QO Following your arrest, were you incarcerated?

A Yes.

QO Where?

A At the MCC Manhattan.

QO Are you familiar with the term "safety valve proffer"?
A Yes.

OQ What is your understanding of what a safety valve proffer
is?

A It's a meeting. Your lawyer's there, the agents who

arrested you are there, and you have to tell the whole truth

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 28 of 60 PagelD #: 2754

24

25

"Maria" - Direct - Shihata 28

about what you did.

QO And do prosecutors also attend that meeting?
A Yes.
OQ Is there any condition -- I'm sorry. You indicated you

have to tell the truth about what you did, at the safety valve

proffer. Is that correct?

A Yes.

QO And for what purpose do you have to tell the truth at that
proffer?

A So they can -- well, so they can take off two points for

time, from your sentence.
OQ And is there any condition to getting -- what is your
understanding of what the condition to getting less time for

participating in a safety valve proffer is?

A Tell the truth.
OQ In connection with your arrest, did you plead guilty?
A Yes.

OQ What did you plead guilty to?
A Possession and a drug conspiracy.
OQ Before your guilty plea, did you participate ina safety

valve proffer?

A Yes.

QO Were you completely truthful in your safety valve proffer?
A No.

OQ What if anything did you leave out?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 29 of 60 PagelD #: 2755

24

25

"Maria" - Direct - Shihata 29
A Who the drugs belonged to, how many times I had gone out
to pick up drugs. I don't remember, but --
QO Why did you leave out who the drugs belonged to?
A Because I was in jail at that point. I couldn't say who

the drugs belonged to. In other words, I wasn't going to put
my family at risk.

OQ Had anything happened to your family prior to that?

A Yes.

QO What had happened?

A The house caught fire.

O Whose house?

A My parents’ -- my house.

OQ The house in the Dominican Republic?

A Yes.

QO And what if anything happened to your brother -- or one of

your brothers in that fire?
A He died.
Q What if anything did you learn about that fire after

speaking with the man who asked you to pick up drugs?

A That he had been -- he had been the one who had sent it to
Ibe done.

OQ Now, were you sentenced on January 29, 2015?

A Yes.

OQ What sentence did you receive?

A Three years in prison and two years of probation.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 30 of 60 PagelD #: 2756

24

25

"Maria" - Direct - Shihata 30
OQ What if any benefit did you receive from your safety valve
proffer?
A They reduced time.
OQ Were you facing a mandatory minimum sentence for the crime

you had pled guilty to?

A Yes.

OQ What mandatory minimum sentence were you facing?

A Ten years.

QO Was that based on the amount of drugs you were going to
pick up?

A Yes.

QO And were you sentenced below that, due to your safety

valve proffer?

A Yes.

QO When you were sentenced, what prison were you housed in,
at the time of your sentencing?

A MDC Brooklyn.

OQ I'm sorry. Were you -- at the time you were sentenced,
were you housed in Manhattan or Brooklyn?

A In Manhattan.

QO And were you transferred to another prison at some point
after that?

A Yes.

OQ Which prison?

A MDC Brooklyn.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 31 of 60 PagelD #: 2757

24

25

"Maria" - Direct - Shihata 31
OQ Around when did you first arrive at the MDC?
A Around March or April.
QO Of what year?
A 2015.
QO And when were you released from the MDC?
A 29th of April, 2016.
Q And had you been in prison the entire time since your
arrest?
A Yes.
OQ When you were in prison, what was the most important thing
to you?
A My time.
QO What do you mean by that?
A My time to get out, like my good time.

OQ What is "good time"?

A It's the time they reduce from your sentence because if
you don't get tickets and you behave properly.

OQ What is a "ticket"?

A Tt's -- ticket is like when you do something bad, the

officer gives you a ticket.

QO And does that result in some form of discipline?
iA Yes.
OQ When you were at the MDC, how many units were there for

female inmates?

iA Two.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 32 of 60 PagelD #: 2758

24

25

"Maria" - Direct - Shihata 32
Q What if anything were those units called?
A "South" and "North."
OQ What floor were they on?
A Sixth.
QO And generally speaking, what type of inmates were housed

in Unit 6 North?

A The inmates who were awaiting to be sentenced.

Q And what type of inmates were housed in Unit 6 South?

A Those of us who were sentenced.

QO What type of inmate were you when you were housed at the
MDC?

A Sentenced.

OQ And for most of your time at the MCC, what type of inmate
were you? In the MCC. I'm sorry.

A Awaiting my sentence.

QO And while you were awaiting your sentence when you were

housed at the MCC, was your court case still going on for most

of the time you were there?

A Yes.

QO How often would you see your lawyer when you were at the
MCC?

A Frequently. When there was anything, he would just come

and visit.
QO Would you also see him when you appeared in court?

A Yes.

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 33

QO How if at all did that change after you were sentenced?

i

After I was sentenced, the lawyer didn't come back.

OQ Was your court case over at that point?
A. Yes.
Q Now, you testified you were -- or I'm sorry. Which unit

were you housed in at the MDC?

A South.

OQ On the sixth floor?

A Yes.

QO And can you describe for the jury what the general layout
of Unit 6 South was?

A The door. When you entered, the kitchen was on the left.
The officers' office, and the counselor's office. Then the
bathrooms and a little room. And on the right side were the
phones, computer, and the beds. And in the middle were the
chairs and the tables where we ate. And the TV.

OQ I'm going to show you a series of photographs marked for
identification as Government Exhibits 104-A through 104-E. Can
you take a moment to review these photographs and tell me if
you recognize them.

A Yes.

OQ And what area of the MDC are these photographs of? What
area of the MDC are these photographs of?

A The officers' and the counselor's office, the bathroom,

the table where you eat, the phones and the computer, the beds

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 34 of 60 PagelD #: 2760

24

25

"Maria" - Direct - Shihata 34

-- and the beds.
OQ And are these all photographs of portions of Unit 6 South?
A Yes.

MS. SHIHATA: I move to admit Government Exhibits
104-A through 104-E.

MR. RICCO: Without objection, your Honor.

THE COURT: They're admitted.

(Government's Exhibits 104-A through 104-E received into

evidence.)
OQ Starting with Government Exhibit 104 --
THE COURT: Could you close the light?
OQ -- C, what area is this?
A The tables where we ate, the phones and the computer, the

officers' office and the counselor's office, and the kitchen.

OQ Okay. And can you point out in this photograph where the
entrance -- where if anywhere the entrance to the unit is?

A Here.

QO And can you actually -- you can actually make a mark on

your screen.
THE INTERPRETER: Nothing's happening.
MS. SHIHATA: Okay. I don't think it's working.
OQ T'm pointing to a door in the middle of the photograph
with what looks like an "exit" sign on top. Is that the
entrance to the unit?

A Yes.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 35 of 60 PagelD #: 2761

24

25

"Maria" - Direct - Shihata 35

OQ Okay. And this office next to this -- what appears to be
an ice machine, what is that?

A The officers! office.

QO Now, you testified when you were at the MDC there were TVs

in your unit. Is that right?

A Yes.
O Where were those?
A In those -- on those columns there in the middle.
QO Okay. So affixed somewhere on these -- the top of these
columns?
THE INTERPRETER: I'm sorry. Can you repeat the
question?
QO Affixed somewhere on the top of these columns?
A Yes.
Q Showing you Government Exhibit 104-E. Is this a close-up

of the entrance to the officers' office in the unit?
A Yes.
QO And I'm showing you Government Exhibits 104-B and 104-A.

What are these photos of?

A The beds.

QO And when you were there, did the beds have mattresses on
them?

A. Yes.

Q I'm showing you Government Exhibit -- what's in evidence

as Government Exhibit 104-D. What is this a photo of?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 36 of 60 PagelD #: 2762

24

25

A

Q

i

ee 1

"Maria" - Direct - Shihata 36
A The bathrooms. The sinks. And a little room in the rear.
OQ And this little room in the rear, what's in there?
A Tt's like a slop sink where you can wash by hand, or wash
dishes.
OQ And across from the sinks, what is across from the sinks?
A The bathrooms.
OQ And where if anywhere are the showers?
A The first ones are the showers. The second ones are the
bathrooms.
QO And so where I'm pointing here, what are those?
A The bathrooms.
OQ And behind them?
A The toilets.
OQ Okay. Which of those two is the showers? This one or
this one?
A The first one.
OQ Okay.
A That one.
OQ Now, aS an inmate at the MDC, was Unit 6 South where you

spent most of your time?

Yes.

What if any privacy did you have there?

None at all.

Who were the people that were in charge of you at the MDC?

The lieutenants, the officers, and the counselor.

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 37

QO And were there rules that you had to follow as an inmate

at the MDC?

A Yes.
O What kind of rules?
A Keep your uniform on until 4:00 in the afternoon. Work.

Be in your bed after the 10 o'clock count. What else?

OQ Okay. Were those some of the rules?
A Yes.
OQ And if an inmate didn't follow the rules at the MDC, what

was your understanding of what would happen?

A The officer would give you a ticket.
OQ And what if anything would that lead to?
A Go to the SHU or some of your privileges could be taken

away from you, phone, computer, visits.

OQ Now, you mentioned phone privileges. What type of phone
privileges did you have as an inmate at the MDC?

A You got 300 minutes a month and you could use them during
the day until 10 o'clock, 9 o'clock. TI don't know. I don't

remember what time.

OQ And those 300 minutes, were they free?

A No.

OQ Did you have to pay for them?

A You had to pay when you called, yes.

QO And how did you work when you wanted to make a phone call?
A You'd pick up the phone, dial the number, and then you had

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 38

to punch in your ID number, put money in if you didn't have
any, and that was it. You'd make your call. After the --

after the machine would stop talking and saying your

information.

Q Now, you mentioned the term "SHU." What is the "SHU"?

A It's like a small punishment room where you get locked in,
and supposedly they take you out -- I never went there -- two

times a week to take a shower, and they take away all of your
privileges.

OQ Now, are you familiar -- sorry. Going back to the
telephone calls, you mentioned something about a machine. When
you made a call at the MDC, what if anything were you informed

of at the beginning of each call?

A Put in your name -- say your name. That the call was
being recorded from a prison. JI don't remember any more.

OQ Are you familiar with the terms "recall" and "count"?

A Yes.

OQ What is "recall" at the MDC?

A When -- well, there was a blue line. And you had to put

yourself before the line when they said "recall," and that was
for the count.

QO I'm showing you what's in evidence as Government Exhibit
104-A. Is the line you're referring to in this exhibit?

A. Yes.

0 Which one is it?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 39 of 60 PagelD #: 2765

24

25

"Maria" - Direct - Shihata 39
iA The first one.
QO That I'm pointing to here?

i

Yes.

OQ What is the "count"?

A It's when the officers come and count you to see if all
the inmates are there.

OQ And when you were at the MDC, how many times would the
"count" happen?

A At 4:00 and at 10:00.

Q Okay. And was there any difference in the number of times

the count occurred on Monday through Friday versus the

weekends?

A Yes.

O What difference?

A Saturdays and Sundays -- well, on the weekend -- the count

would happen three times, 10:00, 4:00, and again at 10:00 at

might.

QO And how about on Monday through Friday?

A Twice.

QO What were you permitted to wear as an inmate at the MDC?
A Your uniform, gray pants with a shirt. And weekends,
sweatpants.

QO Okay. So the pants and shirt you described was your
uniform?

A Yes.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 40 of 60 PagelD #: 2766

24

25

"Maria" - Direct - Shihata 40
QO And you testified you could wear sweats on weekends?
A. Yes.
QO Were there times you could also wear sweats Monday through
Friday?

A After 4:00. After the count.

OQ Where did inmates change their clothes in Unit 6 South?

A Right in front of your bed, right in front of the

bathrooms, some people inside the bathroom.

QO Where did you change your clothes?

A Inside the bathroom.

Q Why?

A Because I didn't want them to see my body. Some women let

anybody see their body.

OQ As a sentenced prisoner at the MDC, were you required to
work?

A Yes.

OQ What job or jobs did you first have when you got there?

A In the unit kitchen; and in the laundry, but only a few

days, until they gave me my steady job which was cleaning --

cleaning.

QO And the laundry you mentioned for a few days, was that in

your unit?

A Yes.

Q And once you got your cleaning job, what if any areas were

you required to clean as part of your job?

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata Al

A The second floor.

QO And to the best of your memory, around when did you start
cleaning the second floor area?

A Practically from when I got there. Maybe a month later.

OQ Okay. And at some point did you start cleaning the second

floor regularly?

A Yes.
QO And about how often would you clean the second floor?
A Anytime they would call for me to go clean. The doctors,

the legal people, or the lieutenants.

OQ And what specific types of cleaning did you do?
A The garbage, mopping, dusting, cleaning.
QO And when you first started to clean the second floor ona

regular basis, who if anyone did you clean with?
A With Carmen Lopez and Odie de la Cruz.
QO Now, did Carmen Lopez leave the MDC at some point while

you were there?

iA Yes. She left.
OQ Around when did Carmen Lopez leave the MDC?
A November 1st, 2015.

MS. SHIHATA: Showing the witness only what's been

marked for identification as Government Exhibit 8.

Q Do you recognize the person in this photo?
A. Yes.
O Who is that?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 42 of 60 PagelD #: 2768

24

25

"Maria" - Direct - Shihata 42
A Odie de la Cruz.
OQ And is that the Odie de la Cruz that you just mentioned

you sometimes cleaned with?
A Yes.
MS. SHIHATA: I'd move to Government Exhibit 8.
MR. RICCO: Without objection, your Honor.
THE COURT: It's admitted.
(Government's Exhibit 8 received into evidence.)
MS. SHIHATA: If we could publish it on the screens.
QO Now, when you got to the MDC, was Odis de la Cruz there

when you got there?

A. Yes.

Q And when you left the MDC, was she still there?

A. Yes.

Q And just to be clear, was she another inmate at the MDC?
A. Yes.

10

After Carmen Lopez left the MDC, were there times when you

were called to clean the second floor alone?

A Yes.

QO As a general matter, how did you learn when you were
meeded to clear -- to clean the second floor on a particular
day?

A The officer would call you over the loudspeaker or some

would come over to you and they'd say get ready, you have to go

clean.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 43 of 60 PagelD #: 2769

24

25

"Maria" - Direct - Shihata 43
OQ And what if anything did you have to do to get ready to go
clean?
A Put your uniform on, if you weren't already wearing it.

Get the mops, the paper towels, and the pail that you put water

in.
OQ And how -- how did you get to the second floor?
A The officer had to take me down there.

QO Was that by elevator?
A Yes.

Q I'm showing you what's been marked for identification as
Government Exhibits 101-A through 101-E. Can you take a moment

to look at these photographs and tell me if you recognize them.

A Yes.

OQ And are these all photographs from the second floor of the
MDC?

A Yes.

MS. SHIHATA: I move to admit Government Exhibits
101-A through 101-E.

MR. RICCO: Without objection, your Honor.

MS. SHIHATA: They're admitted.
(Government's Exhibits 101-A through 101-E received into
evidence.)
QO I'm showing you what's in evidence was Government Exhibit
101-A. What does this photo show?

iA The two elevators and the door where the officer who took

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 44

you had to say your name. And the control would open.

THE INTERPRETER: Correction. The officer would have
to say his name.
QO And is this the hallway you had to go to, to get to a

particular area?

A Yes.
OQ And what area was beyond the door that controlled?
A The same hallway. On the left side are the lieutenants'

office and the chaplain. On the right-hand side is the
dentist, another office that belongs to a lady.
QO Okay. And I'm showing you Government Exhibit 101-B. What

is this a photo of?

A The same door.

OQ And what is the black square next to the door?

A It's where the officer had to say his name.

QO In order for what to happen?

A So that the door would be opened.

Q Showing you what's in evidence as 101-C. Is that the same
door -- photograph of the same door open?

A Yes.

OQ Showing you what's in evidence as Government Exhibit

101-D. What does this photo show?
A On the left side are the doors for the lieutenants. The
second door is where you went to get water. The third door is

where you waited for the doctors. On the right side is the

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 45

dentist's door.
OQ Okay. And so the first door on the left side that I'm
pointing at, what is that the entrance to?
A The lieutenants, the chaplain, the captain.
OQ Showing you what's in evidence as Government Exhibit
101-E. Is this photo a close-up of the door to that same area
that you just described?
A Yes.
Q I'm showing you what's been marked for identification as
Government Exhibits 102-A through 102-G. Can you look through
these photographs and tell me if you recognize them.
A Yes.
OQ And are these photographs 102-A through 102-G, are they
all photographs of the lieutenants' office area on the second
floor of the MDC and the surrounding areas?
A Yes.
MS. SHIHATA: I move to admit Government Exhibits
102-A through 102-G.
MR. RICCO: And that's without objection, your Honor.
THE COURT: They're admitted.
(Government's Exhibits 102-A through 102-G received into
evidence.)
OQ Showing you what's in evidence as Government Exhibit
102-A. What is this area?

A The first door -- well, this area is the hall. The first

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 46 of 60 PagelD #: 2772

24

25

"Maria" - Direct - Shihata 46

door belongs to the chaplain. The second one belongs to the
lieutenants. The third one in the rear is the captain, and
the door that is open is the bathroom.

QO Okay. When you say the first door, are you referring to

this one that I'm pointing at?

A Yes.

OQ That's the chaplain area?

A Yes.

OQ And the door with the little trash can in front of it,

which office is that?

A The lieutenants.

OQ And the door next to that?

A The captain.

OQ And you testified this open door belongs to a bathroom.

Is that correct?

A Yes.

OQ Showing you what's in evidence as Government Exhibit
102-B. What are the two doors that are on either side of the
couch in this photograph?

A The two bathrooms.

OQ And this door that has an "exit" sign on top of it, is
that the entrance to this area?

A Yes.

QO And showing you what's in evidence as Government Exhibit

102-D. What is this door on the right side of the photograph?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 47 of 60 PagelD #: 2773

24

25

"Maria" - Direct - Shihata 47]
A The lieutenants! door.
OQ And on the other side of the photograph, what is this door

and window to?

A The chaplain.

OQ Showing you what's in evidence as Government Exhibit
102-E. What does this photo show?

A That's the hallway. At the end, there's a little room in
the rear where they put you if you're nervous -- if the person

is nervous or is sort of crazy.

OQ Is that the suicide watch area?
A Yes.
OQ Showing you what's in evidence as Government Exhibit

102-G. What is this?

A It's the hallway, but going back to the exit. At the very
end is the lieutenants' door.

QO And is this -- in the front part of the photograph, is
this a closer-up view of that suicide watch area?

A Yes. In those little rooms, they put them there.

QO And showing you what's in evidence as Government Exhibit
102-F, is this part of that same hallway as what was in the

last exhibit?

A Yes.

OQ And this door with the "exit" sign on top, what is that?
A The lieutenants'.

OQ The lieutenants' office?

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 48 of 60 PagelD #: 2774

24

25

"Maria" - Direct - Shihata 48

A. Yes.
Q And I'm pointing to a little circular object close to the

ceiling. Do you see that?

A Yes.

OQ Do you know what that is?

A The camera.

OQ Now, you testified earlier that an officer would escort

you to the second floor to clean. Is that right?
A Yes.
QO As a general matter, when an officer escorted you to clean

the second floor, would he stay with you on the second floor or

leave?
A He would leave.
Q Was there a particular officer who generally stayed while

you cleaned?

A Yes.
O And who was that?
iA Smith. Officer Smith.

MS. SHIHATA: I'm showing the witness -- I'm showing
the witness only what's been marked for identification as

Government Exhibit 3.

Q Do you recognize the person in this photo?
A. Yes.

OQ Who is it?

A Smith.

Transcriptions Plus Il, Inc.

24

25

"Maria" - Direct - Shihata 49

OQ Is that the Officer Smith you just referred to?
A Yes.
MS. SHIHATA: I move to admit Government Exhibit 3.
MR. RICCO: Without objection, your Honor.
THE COURT: It's admitted.
(Government's Exhibit 3 received into evidence.)
MS. SHIHATA: If we could publish it on the screen.
QO Now, who were some of the lieutenants that you cleaned for
while you were at the MDC?
A Almos (ph.), Rodriguez, Maldonado, Martinez, and an
African -- Afro-American lady. I don't know her name.
MS. SHIHATA: Showing the witness only what's been

marked for identification as Government Exhibit 9.

Q Do you recognize the person in this photo?

A Yes.

OQ Who is it?

A Lieutenant Rodriguez.

QO And was he a lieutenant you cleaned for at some point

While you were at the MDC?

A Yes.
MS. SHIHATA: Move to admit Government Exhibit 9.
MR. RICCO: Without objection, your Honor.
THE COURT: It's admitted.

(Government's Exhibit 9 received into evidence.)

MS. SHIHATA: And may we publish it? Thank you.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 50 of 60 PagelD #: 2776

24

25

A

Q

A

Q

A

"Maria" - Direct - Shihata 50
OQ Now, are you familiar with the term "SIS" at the MDC?
A Yes.
Q What is your understanding of what "SIS" is?
A It's the investigators at the prison.
OQ And at some point after you got -- after the point in time
when you cleaned for Lieutenant Rodriguez, did you understand
that he had become an SIS officer?
A Yes.
QO Now, you testified you also cleaned the second floor for
Lieutenant Martinez. Is that correct?
A Yes.
OQ Do you know his first name?
A Yes.
O What is it?
A Carlos.
QO Do you see Carlos Martinez in the courtroom here today?
A Yes.
OQ Can you point him out by an item of clothing he's wearing

and/or where he's sitting?

He's wearing a black jacket and white shirt.
And is he wearing -- well, where is he seated?
To my right.

And is he -- there are a number of people seated to your

right. Where at the table is he seated?

In the middle of two people.

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 51 of 60 PagelD #: 2777

24

25

FP tO Pp

10

A

Q

A

Q

A

Q

what

"Maria" - Direct - Shihata 51

MS. SHIHATA: Indicating the defendant, your Honor?
THE COURT: Yes.
How did you first meet the defendant?
I was cleaning the lieutenants' office for Almos, I think.
And was Almos a lieutenant?
Yes.
And who if anyone was in the lieutenants!’ office while you
cleaning?
Almos and Martinez.

And what if anything did you hear the defendant say to

Lieutenant Almos?

If he could go and get me so that I could clean for him.

Sometime after that, did you start cleaning the second

floor for the defendant?

Yes.

Do you recall approximately when you first started

cleaning for the defendant?

In August or September.

Of what year?

2015.

And when you first started cleaning for the defendant,
areas of the second floor did you generally clean for him?

Bathrooms, the lieutenants' office, the hall, and that's

And as a general matter, what days of the week did the

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document111 Filed 02/21/20 Page 52 of 60 PagelD #: 2778

24

25

"Maria" - Direct - Shihata 52

defendant generally send for you to come clean on the second

floor?
A Friday, Saturday, and Sunday.
QO Around what time would he generally call for you to clean

on Fridays?

A After the count, around 5:30 or 5:00, something like that.

OQ That's in the afternoon?

A Yes.

QO And how about on Saturdays and Sundays?
A After 10:30 in the morning.

QO Can you describe for the jury what the second floor was

like on Fridays after around 5:00 p.m.

A No staff.
OQ What do you mean by that?
A Well, that is there were no people around. Sometimes the

chaplain was there. But there wasn't anybody else there, just
the lieutenant and me.

QO And what was the second floor like on Saturdays and
Sundays after around 10:30 in the morning?

A Same way. Empty.

QO When you first started to clean for the defendant, where
would the officer who escorted you generally take you on the
second floor?

A To the lieutenants' office.

Q I'm showing you what's been marked for identification as

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 53 of 60 PagelD #: 2779

24

25

"Maria" - Direct - Shihata 53

Government Exhibits 103-A through 103-E. Can you take a moment
to look through these photographs and tell me if you recognize
them.
(Pause)
QO Do you recognize them?
A Yes.
OQ Are Government Exhibits 103-A through 103-E all
photographs of portions of the lieutenants" office on the
second floor?
A Yes.
MS. SHIHATA: I move to admit Government Exhibits
103-A through 103-E.
MR. RICCO: That's without objection, your Honor.
THE COURT: Admitted.
(Government's Exhibits 103-A through 103-E received into
evidence.)
OQ Showing you what's in evidence as Government Exhibit

103-A. What is this a photo of?

A Inside the lieutenants" office.

OQ And is this from the entrance, this view?

A Yes.

Q Showing you 103-B. Is this another photo from the

opposite view?
A Yes.

OQ Showing you what's in evidence as Government Exhibit

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 54 of 60 PagelD #: 2780

24

25

A

Q

A

Q

A

Q

A

Q

"Maria" - Direct - Shihata

103-C. What is this a photo of?

The lieutenants' desk.

I'm showing you what's in evidence as Government Exhibit

103-D. What is this a photo of?

The lieutenants’ chair.

Now, is there any particular area in the lieutenants'

office where cleaning supplies were kept?

Yes.
What area?
There was a closet on the left.

Showing you what's in evidence as Government Exhibit

103-E. What's this a photo of?

A The closet where the liquids you used for cleaning were
kept. The other big one, that's where they put things that
they took away from inmates.

OQ The one to the left?

A Yes. And I don't remember what's in the last one.

OQ At some point did you learn that cleaning supplies were
also kept in another area, other than the cabinet in the
office?

A Yes.

O And where was that?

A Under the desk -- under the lieutenants' desk.

Q I'm showing you Government Exhibit -- what's in evidence

as Government Exhibit 103-D. Do you see that area in this

Transcriptions Plus Il, Inc.

54

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 55 of 60 PagelD #: 2781

"Maria" - Direct - Shihata 55
photograph?
A Yes.
OQ And what area is it?
A Like, right under the printer.
OQ Under this -- in this area or around here?
A Yes.
OQ And what if anything did you learn about who put the

cleaning supplies there?

A The lieutenant -- that Afro-American lady, her.

OQ Okay. A female lieutenant who's African-American who you
don't remember her name. Is that right?

A Yes.

MS. SHIHATA: Your Honor, may I just have a moment?
(Pause)

MS. SHIHATA: Your Honor, may we have a quick
Sidebar?

THE COURT: Yes.

Transcriptions Plus Il, Inc.

24

25

Sidebar 56

(Conference held at sidebar)

MS. SHIHATA: I was just going to suggest that this
may be a good time to break since it's 5:50 and I'm about to
get into the first incident, which will take more than ten
minutes to complete.

THE COURT: Okay. How long do you -- I forget -- I
can't remember how long the trial took, it was so long ago.
When -- how long do you estimate the trial is going to take?

MS. SHIHATA: The trial. So I think I will finish
with this witness tomorrow morning. I think -- from our
papers, I think we might be taking a break on Wednesday. And
SO --

THE COURT: I don't want to bring the jury in for
two-and-a-half hours. I don't think it's fair.

MR. RICCO: Judge, I'm going to -- I'm going to speak
to the school and see if they can move Wednesday. I'11l know
first thing in the morning.

THE COURT: Okay. You are covering your mic.

MR. RICCO: No, just bad habit, Judge. I'm sorry.
T've been doing it all day.

MS. SHIHATA: So I anticipate that we will be likely
finished with our case by Monday --

MS. GEDDES: Tuesday.

MS. SHIHATA: I'm sorry. Monday is a holiday. So by

Tuesday. And then I understand that there will be a -- there

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 57 of 60 PagelD #: 2783

24

25

Sidebar 57

may be a defense case.

THE COURT: Okay. Well, does that depend on whether
we work on Wednesday?

MS. SHIHATA: No, I think --

MS. GEDDES: We have a couple -- we were relying --
we were relying on having Wednesday off. So we do have several
out-of-town witnesses who will not be here until Thursday. So
I think realistically we're going to try to see if we can move
things around, if you're able to sit on Wednesday, and we'll
see --

MR. RICCO: And if I find out tonight, I'll contact
you tonight.

MS. GEDDES: But we are somewhat limited by the
travel schedules that we have now pre-arranged. But we'll do
our best. But I think realistically we will finish up on
Tuesday.

THE COURT: Okay.

(Conference concludes at sidebar)

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 58 of 60 PagelD #: 2784

24

25

Proceedings 58

THE COURT: Okay, ladies and gentlemen. We're going
to break for the day until 10:30 tomorrow. Again, please stay
away from the internet as it affects this case. Good evening.
(Jury exits)

MS. GEDDES: Your Honor, we're starting at 10:30
tomorrow?

THE COURT: Yes.

MS. GEDDES: Okay. Thank you.

(Matter Concluded)

-o00-

Transcriptions Plus Il, Inc.

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 59 of 60 PagelD #: 2785

24

25

Opening:

WITNESSES:

"Maria":

By Mr. Ricco.

By Ms. Shihata.

I N D E X

Direct Examination by Ms. Shihata..

E X H I BIé##T= =S§S
Government's Exhibit Marked For Identification:
Government's Exhibit 1.
Government's Exhibit 3.
Government's Exhibit Received Into Evidence:
Government's Exhibit 2.
Government's Exhibit 2-A.
Government's Exhibit 1.
Government's Exhibit 104-A through 104-E.
Government's Exhibit 8.
Government's Exhibit 101-A through 101-E.
Government's Exhibit 102-A through 101-G.
Government's Exhibit 3.
Government's Exhibit 9.
Government's Exhibit 103-A through 103-E.

Transcriptions Plus Il, Inc.

59

15

19

102

20

21

23

34

42

43

45

49

49

53

Case 1:17-cr-00281-ERK Document 111 Filed 02/21/20 Page 60 of 60 PagelD #: 2786

I, LINDA FERRARA, hereby certify that the foregoing
transcript of the said proceedings is a true and accurate
transcript from the electronic sound-recording of the
proceedings reduced to typewriting in the above-entitled

matter.

I FURTHER CERTIFY that I am not a relative or
employee or attorney or counsel of any of the parties, nor a
relative or employee of such attorney or counsel, or

financially interested directly or indirectly in this action.

IN WITNESS WHEREOF, I hereunto set my hand this 11th

day of February, 2020.

GZ fo
Parked Ssdbh—
Linda Ferrara

AAERT CET**D 656
Transcriptions Plus II, Inc.

Transcriptions Plus Il, Inc.

60

